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matter. While MDL Plaintiff Counsel seek to lay the problem at the defendants feet,’® they cannot
avoid their burden of demonstrating adequacy of representation of the entirety of the proposed
plaintiff classes. Since such burden requires adequate representation with respect to all subclasses
and all intra-class conflicts, including material variations in both the common law and statutory
consumer fraud laws of the various states with differing rights of recovery by consumers, see
Relafen, supra, adequate representatives must be proffered for each of these disparate interests. At
a minimum, adequate representatives must be presented for the consumers in each of the States
where the Attorney General has sued in order for this Court to supplant the parens patriae or other
authority of the State Attorneys General to proceed on behalf of their citizens.

2. There Are No Adequate Representatives ofthe States’ Claims for Declaratory
and Injunctive Relief

In light of the MDL Plaintiffs’ decision to drop equitable remedies in this Court, itis obvious
that there are no adequate representatives of the proposed classes to ensure that these States’ claims
for declaratory and imjunctive relief against the defendants will be adequately represented and
vigorously prosecuted. In light of the clear design of the State Attorneys General to pursue such
equitable remedies, including injunctions under state consumer fraud laws and other laws against
the unlawful pricing, marketing and sales practices, this Court must consider the problem created
by the proposal of MDL Plaintiff Counsel to permit the coextensive representation of members of
the classes by the MDL Plaintiff Counsel tn a case where they seek less than all the relief available

to members of the proposed classes, The decision to drop equitable remedies relief should be fatal

' MDL Plaintiff Counsel argue that, since it is by application of the Massachusetts choice of

law rules that the consumer protection laws of the fifty (50) states must be applied to the claims of
the consumer classes, therefore somehow their lack of adequate representation of the consumers in
most States should somehow be excused.

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to any claim by MDL Plaintiff Counsel that they can adequately represent all the interests of the

members of the proposed classes.

D. A CLASS ACTION IS NOT THE “SUPERIOR METHOD” FOR THE “FAIR AND
EFFICIENT ADJUDICATION” OF THE CLAIMS OF THE PROPOSED CLASSES IN VIEW
OF THE PENDING ACTIONS By PENNSYLVANIA AND THE JOINDER STATES.

“The final hurdle Plaintiff(s} must clear under Rule 23(b)(3) is the requirement that {they]
demonstrate that a class action ts a fair and efficient method for adjudicating the controversy and
would be superior to other methods.” Mack v. Suffolk County, 191 F.R.D. 16, 24 - 25 (D. Mass.
2000). A class action Is a superior method only if no reasonable alternative exists. See, e.g.,
Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234-35 (9th Cir. 1996). Here, the standard cannot
be met because Pennsylvania and certain Joinder States already have sued the Track 1 Defendants
in stale court. Consequently, MDL Plaintiff Counsels’ ipse dixit assertions that class certification
is necessary to make class members’ claims financially viable is completely belted by the fact that
the interests of the proposed classes are being advanced by the Attorneys General of Pennsylvania
and the Joinder States. Under the circumstances of this litigation, where the Attorneys General have
initiated and are independently pursuing parens patriae actions that seek redress for harm caused to
their citizens, an independent, overlapping MDL action that seeks certification of a massive,
nationwide class of consumers and business entities involving the same conduct and harm being
adjudicated by the Attormeys General is not the “superior method” for the “fair and efficient
adjudication” of the controversy under Fed. R. Civ. P, 23(b)(3). Such “co-extensive” representation
of private parties 1s unnecessary, imprudent and unwarranted under the law. See, e.g.,
Commonwealth of Pennsylvania v. Budget Fuel Co., 122 F.R.D. 184, 186 (E.D. Pa.1988) (...’where

ihe Attorney General has exercised his authority under [the law] and filed a parens patriae action,

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there is simply no reason or authority for allowing coextensive representative by private parties.”}
(emphasis supplied).

This conclusion was acknowledged by this Court to be a proper result in the McLaughlin
decision, infru., and has been reached by numerous federal courts who have been faced with the
question of class certification in the face of existing representation by Attorneys General. See
MeLaughtin, 224 F.R.D. at 312 (noting that “[s]ome federal courts have denied class certification
where the state Attorney General had, in fact, brought a claim on behalf of the consumers in the
state.”’).

The cases cited by the McLaughlin Court warrant closer scrutiny by this Court because this
case involves the very situation that was lacking in McLaughlin: civil class plaintiffs seeking class
certification in a case where the state Attorneys General have sued. /d. at 312 (“these cases,
however. do not bear on whether a court should deny certification simply because the plaintiffs could
pelition the Attorney General to bring suit on behalf of all [plaintiffs] in the Commonwealth, but
where the Attorney General has not actually brought suit.”) (emphasis in original).'’ Since the more
recent case, Sage v. Appalachian Oil Co., 1994 W.L. 637 443 (E.D. Tenn. Sept. 7, 1994), appears
to have relied exclusively upon the earlier case, Commonwealth of Pennsylvania v. Budget Fuel Co.,
fne., 122 F.R.D. 184 (B.D, Pa. 1988), the Budget Fuel case should be scrutinized. However, both
cases involve applications by class action plaintiffs for certification of classes pursuant to Federal
Rule 23 for federal antitrust claims brought on behalf of consumers. In both cases, the Attorneys

General of the respective states in which the federal court resided had instituted prior purens patriae

v It is noteworthy that in the AWP litigation the Attorney General of Massachusetts has

“actually brought suit.” See Appendix “B.”

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actions against some or all of the defendants for similar unlawful conduct. In granting the Attorney
General’s Motion to Strike the class action allegations of the competing consumer complaint, the

Budget Fuel Court held:

“A parens patriue action is superior to a class action as a means for
adjudication of collective claims. The superiority of the parens
patriae action over the class action is evidenced by the lack of any
provision or requirement for court approval or certification of a
parens patriae action....In addition, Rule 23(b)(3) of the Federal
Rules of Civil Procedure permits class certification only where ‘a
class action is superior to all other available methods for the fair and
efficient adjudication of the controversy.’ In the case sub judice, the
class action brought by [the consumer plaintiff] 1s not a superior
alternative because the Plaintiffs in the [consumer plaintiffs] action
are already ably represented by the Attorney General in the
Commonwealth’s parens pairiae action. Although the Court is
cognizant of the fact that the parens putriae provisions of § 4C of the
Clayton Act were not intended to negate the Rule 23 class action,
where the Attorney General has exercised his authority under § 4C
and filed a parens patriae action, there is simply no reason or
authority for allowing co-extensive representation by private parties.

* ok ok

All the court is stating 1s that in the situation where a State Attorney
General and a private class representative seek to represent the same
class members, the parens pairiae action 1s superior to that of the
private class action.

Budget Fuel, 122 F.R.D. at 185-86.

As noted previously, this holding was directly followed and extended by the Tennessee
Eastern District Court in the Sage case, but in a stightly different context. In Sage, the District Court
had denied previously the civil plaintiffs’ motion for class certification in light of the pending
Attorney Gencrals’ paren patriae action. The Tennessee Attorney General then amended the State’s

complaint to add a request for class certification under Rule 23 and to have itself designated the

“adequate representative” of the Class. The Sage Court wrote that, “[w]hile it is not clear that the

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State has a superior right to bring a Rule 23 class action, the State, through the Attorney General, is
clearly in a superior position to bring a purens patriae action against defendants on behalf of all
natural persons in this state.” Sage, 1994 WL 637443 at *1. The Sage Court went on to hold that,
with respect to the Tennessee Attorney General’s subsequent application to be appointed class
representative of the same Rule 23 class that the consumer plaintiffs had sought previously, “[fJor
many of the same reasons and for reasons of judicial economy, it appears that the State should be
the preferred representative of a class of all persons, including non-natural persons such as business
entities, that were effected by the alleged price fixing conspiracy.” /d. at *2. Because the defendants
had not had an opportunity to object to the State’s request, the matter was continued to another day.

In Jn re Montgomery County Real Estate Antitrust Litigation, 1988 WL 125789 (D. Md. July
17, 1988), this primary right of Attorneys General to represent their citizens was extended to the
settlement context. In the case, private plaintiffs who had settled the claims of a prior certified class
of purchasers of rea! estate services of the defendants over a period of time from September 5, 1974
and to September 30, 1976, then sought to settle the claims of class members who purchased services
trom after September 30, 1976 to April 1, 1977. However, the claims of these people had been part
ofa pending purens patriae action being prosecuted by the Attorney General of Maryland. fd. at
“1. In seeking essentially to roll in the Attorney General’s claims to effectuate a complete
settlement, the class plaintiffs simply agreed with defendants to settle all claims involving the
defendants’ conduct over the entire period of the alleged conspiracy, including all conduct that fell
within the period implicated in the Attorney General’s action, but without consultation with or the

assent of the Attorney General. /d.

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The precise issue before the court was “whether a full settlement of this litigation can take
place in the absence of assent by the Attorney General.” /d. The court held that such a settlement
could not take place, and it refused to extend the class certification beyond the prior certified period,
thereby preserving the Attorney General’s sole representation of natural persons in tts parens patriae
action. /cé. at *3. The court explained that to permit otherwise would “run afoul” of Rule 23(b)(3)’s
superiority requirement. /d. at *2. The court ruled that the class action device was not a superior
method of adjudication because of the Attorney General’s existing representation of the claims. fd.
In so ruling, the court stated:
there is simply no reason or authority for allowing coextensive
representation by private parties. The parens patriae action is plainly
superior to the class action as a mode for adjudication of collective
claims. A clear indication of this is the lack of any provision or
requirement for court approval or certification of a parens patriae
action.

fd. (citing 15 ULS.C. § 15(c)(b){1)).

While the court in /a re Montgomery dealt with this issue solely in the context of the
Sherman Act, and expressly avoided the question of whether such “preemption” would be
permissible outside of that context, see id. atn.5, the rationale supporting the court’s decision applies
equally here. Indeed, the court relied on the “analogous situation” presented in a non-antitrust case,
United States v. City of Chicago, 411 F.Supp. 218, 243 (N.D. IL. 1976), aff'd in part, rev'd in part,
549 F.2d 415 (7" Cir. 1977), wherein that court denied class certification for private plaintiffs in a
civil rights case because the federal government already represented the proposed class members,

thereby precluding satisfaction of Rule 23(b)(3)’s superiority requirement. /n re Montgomery at *2.

See also Barcelo vy. Brown, 78 F.R.D. 531, 534 (1978) (relying on City of Chicago inruling that class

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action involving private plaintiffs would not be superior method for adjudication under Rule 23(b)(3)
where “Commonwealth [of Puerto Rico] Plaintiffs” provided “viable alternative to coping with the
difficulties inherent in the class action device.”),

As an additional basis for its ruling, the court in /a re Montgomery found that, even ifit were
proper as a matter of law to extend the class certification, it would have been improper to do so as
a matter of fact. The court stated that the “overlapping representation... would create very serious
problems” with respect to class notice and confusion of class members about their rights and options.
In re Montgomery at *2.

This rationale of the court in Jn re Monigomery applies fully in the instant matter. The
proposed class action on behalf of private plaintiffs is not the superior method of adjudication under
Rule 23(b)(3) in light of the prior pending Attorney General actions. Moreover, given the pending
Attorney General actions, certification of an overlapping class action 1s likely to cause significant
confusion, whether or not the private plaintiff action, if certified, is settled or tried to verdict.
Accordingly, this Court should refrain from granting nationwide class certification, and should defer
to the Attorney General actions as the “superior” methods of adjudicating the claims of those who
allege harm from the defendants’ conduct. At a minimum, a carve out of the States is warranted.

While the States and Defendants surprisingly agree that the class action is not the “superior”
litigation device, Defendants tip their hands as to their bias in wanting no case at all by arguing that
there is a lack of superiority, but with no reasonable alternative. They fail to offer a reasonable
alternative because the Defendants know full well that the millions of cases they say should be filed
instead likely will never materialize because of the cost prohibitive nature of consumer claims.

Instead, Defendants know that defeating nationwide class certification means the effective end of

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the litigation against them. Consequently, this Court should adopt the reasonable middle ground
approach for the litigation offered by the Attorneys General, by deferring to the state-court cases
either completely or in part (by carving out Pennsylvania and the other litigating States from the
proposed Classes).

iii. CONCLUSION

For the foregoing reasons, the Commonwealth of Pennsylvania, by and through its Office of
the Attorney General, along with all of the States Attorneys General who have joined in this
Memorandum, respectfully requests this Honorable Court to deny plaintiffs’ Motion for Class
Certification.

Respectfully submitted,

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Dated: February 8, 2005

Donald E. Haviland, Jr., Esquire fi

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Polhttics & policy news, state by state

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MONDAY, APRIL 2, 2001

SPECIAL REPORT: States Mull Suit
Against Drug Companies

By Mary Guiden, Staff Writer, Stateline.org

In an action modeled on their 1998 class action lawsuit against the tobacco industry, at least six states
are poised to go to court to try to force pharmaceutical companies to lower prescription prices, law
enforcement and health care officials teil Stateline.org.

"The goal ts nothing less than changing the way the industry does business,” says Mark Schlein,
director of Florida's Medicaid Fraud Control Unit in the Attorney General's office.

Attorneys gencral in Florida, Georgia, Maine, Massachusetts, Nevada and Texas are among those
considering legal action, officials from some of the offices said. Nevada's Tim Terry, director of the
state's Medicaid Fraud Control Unit, says while he's "not at liberty to comment" on specifics, he
expects “other developments [on this matter] in the next couple of months.”

A state health official familiar with discussions about state action said there's a strong consensus
across the country. "I really get the sense there's a lot of energy, mostly from attorney generals’
offices. As soon as there's any kind of endorsement from the Health Care Financing Administration
(HCFA), all 50 states are going to jump on it," said the official, who spoke on condition of
anonymity.

HCFA, the federal agency that oversees Medicaid and Medicare, requires drug manufacturers to
report their lowest drug prices, or "best price." "We've asked for their assistance to determine
whether or not pharmaceutical manufacturers violated agreements with HCFA to provide states with
the best price on drugs," says Martin Smith, spokesperson for Georgia's Department of Community
Health.

A HCFA spokesperson declined comment on any potential problems.

State attorneys general aren't waiting for HCFA's permission to seek information from the drug
companies. Bristol-Meyers Squibb says it and other manufacturers have responded to subpoenas
from Massachusetts and several other states.

"We have cooperated fully with the subpoenas, and we're not aware we're the subject of any
investigation. Bristol-Meyers is not the only company being investigated in an attorney general's
office. We're confident that our practices are fully compliant with state and federal laws,” says
spokesperson Patrick Donahue.

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The potential for litigatton grows out of a three year-old Justice Department investigation of the
Bayer Corporation that in January resulted in Bayer settling with the states and the federal
government for $14 million.

In a Jan. 23 news release announcing the settlement, the Justice Department said the government's
investigation “revealed that the pharmaceutical company beginning in the early 1990s falsely inflated
the reported drug prices referred to by the industry as the Average Wholesale Price."

The AWP is the average price that wholesalers give to retailers for a given medication. Medicare and
Medicaid programs use the AWP in calculating reimbursements to pharmacists and doctors.

"By setting an extremely high AWP and, subsequently, selling the product to doctors at a dramatic
discount, Bayer induced physicians to purchase its products rather than those of competitors by
enabling doctors to profit from reimbursement paid to them by the government," the Justice
Department said. As part of the agreement, Bayer said it would "provide the state and federal
governments with the average selling prices of its drugs ... and potentially prices for its competitors’
products,” the Justice Department said.

Meantime, Texas Attorney General John Cornyn brought a lawsuit against three drug companies
secking $79 million for alleged Medicaid fraud.The firms are Dey, Inc., Roxane Laboratories, Inc.
and Warrick Pharmaceuticals Corp.

In court documents filed by the state in Travis County District Court on Sept. 7, the suit says that the
firms "knowingly and intentionally made false representations of prices and costs for certain of their
inhalation drugs directly and indirectly to the Texas Medicaid program."

The state also says the "Medicaid program relied on the false and deceptive inflated prices and costs
reported by the [pharmaceutical companies] and thus was defrauded into paying amounts that
substantially exceeded a true and correct price for the drugs in question." Justice Department
spokesperson Jill Stillman and Barbara Zelner, a spokesperson for the National Association of
Medicaid Fraud Control Units, refused to comment on inquiries into other manufacturers, citin gan
"ongoing investigation." The Pharmaceutical Research and Manufacturers of America (PhRMA)--
which drug companies defer to--also refused comment, citing the "ongoing" nature of the case,

A catalyst for state legal action is Florida businessman Zachary Bentley, who is going from state to
state urging slate attorneys general to sue drug manufacturers. It was Bentley who triggered the
Bayer case. He says he alerted federal authorities years ago about “the corrupting influence" of
pharmaceutical manufacturers after his healthcare company was “put out of business" bya
competitor. Under whistleblower and federal False Claims laws, Bentley gets a portion of any
settlement that results from what he's revealed.

Through his company, which delivered intravenous drugs for diseases like AIDS to a patient's home,
Bentley says he discovered discrepancies between the published Average Wholesale Price (AWP) of
prescription drugs and what the drug companies actually charged retailers for the same drugs.
"Medicaid and Medicare reimburse certain drugs at ten times the cost. Providers, as a result, make a
huge windfail profit," Bentley says.

Because of Bentley's efforts, the Justice Department last May released to states a list of 479 drugs

that the department said had inflated AWPs. A partial copy of the list obtained by Stateline.org shows
that:

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e Adriamycin, an antibiotic used in cancer treatment and manufactured by Pharmacia, had an AWP
of $241.36 as of April 2000. DOJ satd the real wholesale price was $33.43.

¢ Amikacin, used to treat an infection that HIV+ people get and manufactured by Abbott, had an
AWP of $54.56. DOJ said the actual best price was $6.75.

e Toposar, also manufactured by Pharmacia, is used to treat testicular and lung cancer. Its AWP as
of April 2000 was $28.38; DOJ found that retailers were buying it for $1.70.

e Vancomycin, an antibiotic used to treat intestinal infections and manufactured by Abbott, had an
AWP of $68.77 as of April 2000. DOJ adjusted it to $8.14.

Bentley says that the AWP “is only part of" the price inflation controversy. "There's a whole area of
questionable conduct and questionable areas manufacturers have used," he says.

Congressman Pete Stark (D-CA) wrote letters to PhARMA President Alan Holmer fast fall and to
Pharmacia Upjohn, Bristol-Meyers Squibb and Abbott on Feb. 27, alleging among other things, "the
exploitation of America's seniors and disabled who are forced to pay inflated drug costs."

In a five-page letter to Bristol-Meyers Squibb president Peter Dolan, Stark alleges there is
“compelling evidence that Bristol-Meyers Squibb (‘Bristol’) for many years deliberately overstated
the prices of some of its prescription drugs in order to cause the Medicare and Medicaid programs to
pay inflated amounts to Bristol's customers."

Stark’s letter also contains a chart that details an alleged spread between the AWP and actual price to
Florida oncologists for the drug Blenoxane. In 1995, the AWP was $276.29 but oncologists were
charged $224.22, for a spread of $52.07. In 1998, the AWP was listed at $304.60; the price charged
to doctors was $140 for a spread of $164.60.

Florida's Schlein says abuse is widespread. "The whole area of prescription drug fraud is incredibly
important and involves virtually every manufacturer. It involves nothing less than a conspiracy
among manufacturers, middlemen and doctors who prescribe [the drugs]. The bottom line is
everyone is doing this with a nod and a wink and [taxpayers] are paying for it,” he Says.

Other state officials have voiced similar concerns. Georgia Department of Community Health
director Russ Toal said at a Medicaid forum in February that his state has reason to believe that
pharmaceutical manufacturers are overcharging Medicaid programs. "We've sent some evidence of
that to both the Health Care Financing Administration and the Department of Justice, and I hope that
other states are doing the same,” he said.

Former Maine Attorney General Andrew Ketterer says "the area [of AWP] is fertile for attorneys
general to look into. Pharmaceutical companies spend a fair amount of money on research and
development for wells that don't have oil and they have to recover from those losses in some way. [A
lawsuit] is not out of the range of possibilities that would come on to the radar screen. It's an area that
is Of great interest to a lot of people."

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing Memorandum
of the Attorney General of the Commonwealth of Pennsylvania in Opposition to Class Certification

was served on all counsel of record by electronic service pursuant to Case Management Order No. 2.

Dated: February 8, 2005 Respectfully submitted,

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